  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, EASTERN DIVISION


UNITED STATES OF AMERICA              )
                                      )         CRIMINAL ACTION NO.
    v.                                )           3:07cr261-MHT
                                      )                (WO)
RASHEEK MORRIS                        )

                          OPINION AND ORDER

    In    2014,       Amendment       782      to    the    United       States

Sentencing Guidelines revised the guidelines applicable

to the drug-trafficking offense for which this court

sentenced    defendant       Rasheek        Morris.         The    Sentencing

Commission      simultaneously        promulgated           Amendment      788,

making    Amendment          782   retroactive.                   This    court

established       a     Retroactivity           Screening          Panel    to

determine whether a defendant might be eligible for a

sentence reduction pursuant to 18 U.S.C. § 3582(c)(2).

    Morris’s case was submitted for review, but the

Panel     has     been       unable       to        reach    a      unanimous

recommendation         due    to      a     disagreement           over     the

applicable law.          When Morris was originally sentenced

in 2007, the court departed downward by two levels on
the     basis     of    substantial         assistance,        pursuant       to

U.S.S.G. § 5K1.1, which resulted in a sentence below

the   mandatory        minimum,      as   authorized        by     18   U.S.C.

§ 3553(e).        The Eleventh Circuit held in United States

v. Glover, 686 F.3d 1203 (11th Cir. 2012), that such a

below-mandatory-minimum              sentence        cannot      be     reduced

based on a retroactive amendment to the guidelines.

After     Glover,       in   2014,     the    Commission         promulgated

Amendment 780, which states that a reduction should be

made without regard to the mandatory minimum when the

court     originally         departed        below     it     based      on    a

substantial-assistance             motion.           The      parties        were

ordered      to    brief     the     question        whether       Glover     or

Amendment 780 controls.

      Both   the       government     and     Morris       agree      that    his

eligibility for a sentence reduction is governed by

Amendment 780 (and that he is therefore eligible); the

court concurs, albeit for somewhat different reasons.


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Furthermore, the court agrees with the parties                          both

that a sentence reduction is warranted in Morris’s case

and as to the extent of that reduction.



                      I.   CONTROLLING LAW

      Congress has authorized federal district courts to

reduce the term of imprisonment of “a defendant who has

been sentenced to a term of imprisonment based on a

sentencing range that has subsequently been lowered by

the    Sentencing    Commission             pursuant    to      28   U.S.C.

§ 994(o) ... after considering the factors set forth in

[18   U.S.C.   §]   3553(a)    to       the    extent    that    they    are

applicable,    if   such   a   reduction         is     consistent      with

applicable policy statements issued by the Sentencing

Commission.”    18 U.S.C. § 3582(c)(2).

      In United States v. Glover, 686 F.3d 1203 (11th

Cir. 2012), the appellate court held that a defendant

who    initially     received           a     below-mandatory-minimum


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sentence, even based on a departure for substantial

assistance, is not eligible for a reduction under 18

U.S.C. § 3582(c)(2) when the guideline range that would

have     applied--absent        the      mandatory     minimum--was

subsequently and retroactively reduced.              Id. at 1206-07

(citing United States v. Mills, 613 F.3d 1070 (11th

Cir. 2010)).        It explained that the low end of such a

defendant’s    guideline       range    was    determined    by    the

mandatory minimum, which, pursuant to U.S.S.G. § 5G1.1,

“trumped”     any    portion    of     the     otherwise-applicable

guideline range below it.              Relying on the Sentencing

Guideline’s then-current policy statement on sentence

reductions,     it     concluded        that     a   reduction      is

unavailable     in     such    cases     because     the    relevant

"amendment does not have the effect of lowering the

defendant's applicable guideline range because of the

operation of another guideline or statutory provision

(e.g.,    a    statutory       mandatory        minimum     term    of


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imprisonment)."       Id. at 1206 (citing U.S.S.G. § 1B1.10

cmt. n. 1(A) (emphasis omitted)).

    Last     year,     however,       the     Sentencing    Commission

adopted Amendment 780, which states that courts are to

ignore      the      trumping       provision       in     calculating

retroactive        sentence        reductions      in      substantial-

assistance    cases.       Amendment         780   modified      U.S.S.G.

§ 1B1.10,    the     policy     statement      regarding      18   U.S.C.

§ 3582(c)(2)       sentence        reductions      on    which     Glover

relied, by adding a new subsection (c):                  “If the case

involves a statutorily required minimum sentence and

the court had the authority to impose a sentence below

the statutorily required minimum sentence pursuant to a

government        motion      to     reflect       the     defendant's

substantial       assistance        to      authorities,      then   for

purposes of this policy statement the amended guideline




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range      shall    be     determined       without        regard    to    the

operation of § 5G1.1 and § 5G1.2.”1

      In    its     Reason       for    Amendment,         the   Sentencing

Commission made clear that it intended to resolve a

circuit     split       regarding      “when,   if    at    all,    § 1B1.10

provides that a statutory minimum continues to limit

the   amount       by    which    a    defendant's    sentence       may    be

reduced      under        18     U.S.C.     § 3582(c)(2)           when    the

    1. Indeed, U.S.S.G. § 1B1.10(c) cmt. n. 4(b)
addresses precisely the situation present in this case:
“Defendant B is subject to a mandatory minimum term of
imprisonment of 120 months.      The original guideline
range at the time of sentencing (as calculated on the
Sentencing Table) was 108 to 135 months, which was
restricted by operation of § 5G1.1 to a range of 120 to
135 months. See § 5G1.1(c)(2).      The court imposed a
sentence of 90 months pursuant to a government motion
to reflect the defendant's substantial assistance to
authorities.    The court determines that the amended
guideline range as calculated on the Sentencing Table
is 87 to 108 months. Ordinarily, § 5G1.1 would operate
to restrict the amended guideline range to precisely
120 months, to reflect the mandatory minimum term of
imprisonment.    See § 5G1.1(b).   For purposes of this
policy statement, however, the amended guideline range
is   considered   to  be   87   to   108  months  (i.e.,
unrestricted by operation of § 5G1.1 and the statutory
minimum of 120 months).”

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defendant's original sentence was below the statutory

minimum due to substantial assistance.”                   U.S.S.G. supp.

to app. C, amend. 780 (Nov. 1, 2014).                     It went on to

expressly reject the decision in Glover and adopt the

contrary view taken by the Third and D.C. Circuits, in

order       to    “ensure[]      that    defendants          who     provide

substantial        assistance      to    the     government         in     the

investigation        and   prosecution         of    others        have    the

opportunity to receive the full benefit of a reduction

that accounts for that assistance.”                 Id.

       As   the    government      concedes,        Amendment       780--not

Glover--controls.           This    is    true      for   two       reasons.

First, Glover’s conclusion derives entirely from its

interpretation        of   the    pre-Amendment        780    version       of

U.S.S.G. § 1B1.10.         Now that the text of the provision

has changed, Glover’s analysis is simply inapposite.

(By the same token, if an appellate court determines

that    a   federal    statute     creates     no    private       right    of


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action, and then Congress amends the statute to do so,

the circuit’s decision obviously no longer controls.)

      Second, Amendment 780 must be controlling because

the section of the Sentencing Guidelines in which it

appears--U.S.S.G. § 1B1.10(c)--is binding                      on district

courts hearing motions for sentence reductions.                          While

the   Supreme      Court’s   decision        in    United       States     v.

Booker,     543    U.S.    220   (2005),          made     many     of     the

guidelines advisory,         courts still must abide by the

policy statement at issue here.               See Dillon v. United

States, 560 U.S. 817, 824-28 (2010) (emphasizing the

“substantial      role    Congress    gave    the        Commission      with

respect     to     sentence-modification               proceedings”         in

holding that 18 U.S.C. § 3582(c)(2) “requires the court

to follow the Commission’s instructions in § 1B1.10 to

determine    the    prisoner’s   eligibility             for   a    sentence

modification       and     the   extent           of     the       reduction

authorized”); see also United States v. Colon, 707 F.3d


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1255, 1259-60 (11th Cir. 2013) (“[28 U.S.C.] § 994(u)

requires the Commission to specify the circumstances in

which and the amounts by which sentences may be reduced

based        on    retroactive         amendments;         § 994(a)(2)(C)

requires that it do so in a policy statements; and

§ 3582(c)(2)        requires      courts     to   follow    those     policy

statements.”).

       It    is   the   Sentencing      Commission’s       important        and

well-recognized role to resolve circuit conflicts and

thereby       ensure      the   consistent        application        of    the

Sentencing        Guidelines.          The    Eleventh       Circuit       has

previously        highlighted        statements    by   the    Sentencing

Commission        expressly       rejecting       the      court’s        prior

precedent in concluding that such precedent had been

abrogated.        See United States v. Brown, 332 F.3d 1341,

1345        n.6   (11th    Cir.      2003)    (recognizing       that       an

application        note    to   an    amendment    to   the    Sentencing

Guidelines had abrogated prior circuit precedent, and


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noting in support that the Sentencing Commission "cited

[the    abrogated            precedent]        in     its     Reason     for

Amendment").        See       also    United    States      v.    Rodriguez-

Gallegos,    581        F.    App'x    378,     379    (5th      Cir.   2014)

(explaining that the Sentencing Commission had amended

the commentary to a guideline in response to a circuit

split   on   a    question       regarding      its    application,      and

concluding       that    the    amendment--rather           than    contrary

prior   circuit     precedent--"unequivocally”                controlled);

United States v. Diaz, 245 F.3d 294, 301-03 (3d Cir.

2001) (finding that prior circuit precedent had been

abrogated by an amendment in part because “the language

on which [the court] relied” in that case had been

altered and the Sentencing Commission had “specifically

cited [the case] in explaining that the Amendment was

intended ... to overturn [contrary] case law”).




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    The court therefore concludes that Amendment 780

has abrogated Glover and controls this case.2   It is in



    2. The parties also propose another basis on which
to conclude that Amendment 780 is binding in this case:
that it is a clarification to the Sentencing Guidelines
rather than a substantive change. In so arguing, they
cite United States v. Jerchower, 631 F.3d 1181 (11th
Cir. 2011).    But, as Jerchower itself explains, the
clarification-versus-substantive-change distinction is
relevant when the court must determine whether an
amendment should be given retroactive effect.

    Here, it is unnecessary to determine whether
Amendment 780 is retroactive: Morris seeks a sentence
reduction under Amendment 782 (which is retroactive);
ever since Amendment 782 went into effect, U.S.S.G.
§ 1B1.10 has included Amendment 780.     See U.S.S.G.
§ 1B1.10 cmt. n. 6 (specifically contemplating that
Amendment   780  will  apply  when  courts   determine
defendants’ eligibility for sentence reductions under
Amendment 782).

    Because this retroactivity question need not be
resolved for purposes of Morris’s case--and because its
answer is not as clear as the parties suggest, see
Jerchower, 631 F.3d at 1184-85 (noting that an
“amendment overturning circuit precedent suggests a
substantive change”); see also United States v. Crudup,
375 F.3d 5, 9-10 (1st Cir. 2004) (“[W]e consider
whether the amendment addresses an issue on which the
courts of appeals have already staked out opposing
positions, this being some evidence that the amendment
(continued...)
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good company in reaching this view.                     The one appellate

court to consider the issue after the effective date of

Amendment 780 had previously agreed with the Eleventh

Circuit's view in Glover (in virtually all cases--the

nuanced distinction is irrelevant here), but reversed

this position post-amendment in an unpublished opinion,

without any suggestion that the Sentencing Commission's

instructions might not be controlling.                        United States

v.   Freeman,     586     F.    App'x      237,   239   (7th    Cir.   2014)

("Pursuant to Amendment 780, § 1B1.10(c) now clarifies

that district court should not consider the effect of

§§ 5G1.1     and        5G1.2       when     ruling      on     cooperating

defendants' § 3582(c) motions.                    ...    Although he was

subject     to     a     mandatory         minimum      of    240    months'

imprisonment,       the    court      imposed      a    sentence     of   180

months    pursuant       to     a   government       motion     to   reflect

Freeman's        substantial         assistance         to     authorities.

is not a mere clarification....” (citation omitted))--
it will be left for another day.

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Accordingly,      § 1B1.10(c)    bears   directly    on   Freeman's

case     and      makes    him   eligible      for   a    sentence

reduction."); see also United States v. Mintz, 2014 WL

6680401, at *2-*3 (W.D.N.C. Nov. 25, 2014) (Reidinger,

J.) (disregarding the holding of United States v. Hood,

556 F.3d 226, 232-37 (4th Cir. 2009), in light of its

repudiation by Amendment 780).



            II.    CALCULATION OF AMENDED SENTENCE

       Morris’s original base offense level under U.S.S.G.

§ 2D1.1 was 32; after a two-level increase for his role

in the offense pursuant to U.S.S.G. § 3B1.1(c), and a

three-level        decrease      for     his     acceptance      of

responsibility pursuant to U.S.S.G. § 3E1.1, his total

offense    level     was   31.     Morris’s    criminal    history

category was I.       The applicable guideline range was 108

to 135 months; however, because a mandatory minimum of

120 months applied, his guideline range was 120 to 135


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months.        See U.S.S.G. § 5G1.1(c)(2).              The court granted

the   government’s         motion       for    a    three-level      downward

departure        for   substantial            assistance       pursuant     to

U.S.S.G.       § 5K1.1,    which    both       reduced       Morris’s     total

offense level to 28 and authorized the court to give a

sentence below the mandatory minimum.                        See 18 U.S.C.

§ 3553(e).

      The adjusted guideline range was 78 to 97 months;

Morris     was     sentenced       to    78        months.      Morris     was

simultaneously sentenced on a firearms charge carrying

a mandatory minimum of 60 consecutive months, resulting

in a combined sentence of 138 months.                         (The sentence

for that firearms charge is unaffected by Amendment 782

and not at issue here.)

      The government and Morris now agree as follows:

Under    Amendment        782,   Morris’s          amended    base    offense

level     is    26;    after     the     adjustments         for   role    and

acceptance of responsibility are applied, his amended


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total offense level is 25.3        Because Morris originally

received      a    three-level    downward    departure    for

substantial       assistance,    U.S.S.G.    § 1B1.10(b)(2)(B)

authorizes the court to reduce Morris’s sentence to one

“comparably less” than the        amended guideline range.4


    3. Although the Retroactivity Screening Panel’s
recommendation states that Morris’s amended total
offense level is 27, the U.S. Probation Office has
informed the court that it now agrees with the parties
that the correct amended total offense level is 25.

    4. U.S.S.G. § 1B1.10(c) cmt. n. 4(b) suggests that,
if a court opts to give a sentence “comparably less”
than the amended guideline range, then, in order to
account for a substantial assistance departure granted
in the original sentencing, it should calculate a new
sentence that is a similar percentage lower than the
amended guideline range.     However, this court will
account for the departure by calculating a new sentence
that is the same number of levels (three) below the
amended guideline range, in order to ensure that Morris
receives the same sentence that would have been imposed
had Amendment 782 been in effect at the time of his
initial sentencing. See Glover, 686 F.3d at 1206 (“The
goal is to treat a defendant sentenced before the
amendment the same as those sentenced after the
amendment.”).

    In   any   event,  both   the  percentage-wise  and
level-wise calculations produce the same result in this
(continued...)
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After this departure, the resulting offense level is

22.     Morris’s criminal history category is I, so the

final    amended    guideline      range    is   41    to     51   months.

Originally, Morris received a sentence at the bottom of

the     range;     hence,    his     amended       sentence        on    the

drug-trafficking       charge      should   be   41    months.          When

combined with the consecutive 60-month sentence on the

firearms     charge,   the   total       amended    sentence       is    101

months.



      III.   PUBLIC SAFETY AND POST-SENTENCING CONDUCT

      In considering whether and by how much to reduce an

eligible defendant’s sentence, the court must consider

any concerns regarding public safety or post-sentencing

conduct, as well as the factors enumerated in 18 U.S.C.

§ 3553(a).       See U.S.S.G. § 1B1.10 cmt. n. 1(B).



case: a sentence approximately               28%      lower    than      the
bottom of the guideline range.

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     However,   the   government        and   the    U.S.   Probation

Office agree with Morris that no concerns regarding

public safety or Morris’s post-sentencing conduct exist

in   this   case,   and   the   court    agrees.     The    court    has

considered the 18 U.S.C. § 3553(a) factors and found no

reason   to   award   Morris    anything      less   than    the    full

sentence reduction for which he is eligible.

                                * * *

     After conducting an independent and de novo review

of the record, and based upon the assent of defendant

Rasheek Morris, it is ORDERED, pursuant to 18 U.S.C.

§ 3582(c)(2), that the sentence of imprisonment of 138

months previously imposed on him (as reflected in the

last judgment issued) is reduced to 101 months.

     DONE, this the 2nd day of December, 2015.

                                    /s/ Myron H. Thompson
                                UNITED STATES DISTRICT JUDGE
